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                                                                                                                                                                          II




                                                                         113TH CONGRESS
                                                                            1ST SESSION
                                                                                                                   S. 638
                                                                         To amend the Federal antitrust laws to provide expanded coverage and
                                                                            to eliminate exemptions from such laws that are contrary to the public
                                                                            interest with respect to railroads.




                                                                                     IN THE SENATE OF THE UNITED STATES
                                                                                                       MARCH 21, 2013
                                                                         Ms. KLOBUCHAR (for herself, Mr. VITTER, Mr. FRANKEN, Mr. LEAHY, Ms.
                                                                             BALDWIN, and Mr. TESTER) introduced the following bill; which was read
                                                                             twice and referred to the Committee on the Judiciary




                                                                                                                   A BILL
                                                                         To amend the Federal antitrust laws to provide expanded
                                                                            coverage and to eliminate exemptions from such laws
                                                                            that are contrary to the public interest with respect
                                                                            to railroads.

                                                                           1              Be it enacted by the Senate and House of Representa-
                                                                           2 tives of the United States of America in Congress assembled,
                                                                           3     SECTION 1. SHORT TITLE.

                                                                           4              This Act may be cited as the ‘‘Railroad Antitrust En-
                                                                           5 forcement Act of 2013’’.
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                                                                                                                                    2
                                                                           1     SEC. 2. INJUNCTIONS AGAINST RAILROAD COMMON CAR-

                                                                           2                             RIERS.

                                                                           3              The proviso in section 16 of the Clayton Act (15
                                                                           4 U.S.C. 26) ending with ‘‘Code.’’ is amended to read as
                                                                           5 follows: ‘‘Provided, That nothing herein contained shall be
                                                                           6 construed to entitle any person, firm, corporation, or asso-
                                                                           7 ciation, except the United States, to bring suit for injunc-
                                                                           8 tive relief against any common carrier that is not a rail-
                                                                           9 road subject to the jurisdiction of the Surface Transpor-
                                                                         10 tation Board under subtitle IV of title 49, United States
                                                                         11 Code.’’.
                                                                         12      SEC. 3. MERGERS AND ACQUISITIONS OF RAILROADS.

                                                                         13               The sixth undesignated paragraph of section 7 of the
                                                                         14 Clayton Act (15 U.S.C. 18) is amended to read as follows:
                                                                         15               ‘‘Nothing contained in this section shall apply to
                                                                         16 transactions duly consummated pursuant to authority
                                                                         17 given by the Secretary of Transportation, Federal Power
                                                                         18 Commission, Surface Transportation Board (except for
                                                                         19 transactions described in section 11321 of that title), the
                                                                         20 Securities and Exchange Commission in the exercise of its
                                                                         21 jurisdiction under section 10 (of the Public Utility Hold-
                                                                         22 ing Company Act of 1935), the United States Maritime
                                                                         23 Commission, or the Secretary of Agriculture under any
                                                                         24 statutory provision vesting such power in the Commission,
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                                                                         25 Board, or Secretary.’’.


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                                                                                                                                    3
                                                                           1     SEC. 4. LIMITATION OF PRIMARY JURISDICTION.

                                                                           2              The Clayton Act is amended by adding at the end
                                                                           3 thereof the following:
                                                                           4              ‘‘SEC. 29. In any civil action against a common car-
                                                                           5 rier railroad under section 4, 4C, 15, or 16 of this Act,
                                                                           6 the district court shall not be required to defer to the pri-
                                                                           7 mary jurisdiction of the Surface Transportation Board.’’.
                                                                           8     SEC. 5. FEDERAL TRADE COMMISSION ENFORCEMENT.

                                                                           9              (a) CLAYTON ACT.—Section 11(a) of the Clayton Act
                                                                         10 (15 U.S.C. 21(a)) is amended by striking ‘‘subject to juris-
                                                                         11 diction’’ and all that follows through the first semicolon
                                                                         12 and inserting ‘‘subject to jurisdiction under subtitle IV of
                                                                         13 title 49, United States Code (except for agreements de-
                                                                         14 scribed in section 10706 of that title and transactions de-
                                                                         15 scribed in section 11321 of that title);’’.
                                                                         16               (b) FTC ACT.—Section 5(a)(2) of the Federal Trade
                                                                         17 Commission Act (15 U.S.C. 45(a)(2)) is amended by strik-
                                                                         18 ing ‘‘common carriers subject’’ and inserting ‘‘common
                                                                         19 carriers, except for railroads, subject’’.
                                                                         20      SEC. 6. EXPANSION OF TREBLE DAMAGES TO RAIL COM-

                                                                         21                              MON CARRIERS.

                                                                         22               Section 4 of the Clayton Act (15 U.S.C. 15) is
                                                                         23 amended by—
                                                                         24                         (1) redesignating subsections (b) and (c) as
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                                                                         25               subsections (c) and (d), respectively; and
                                                                         26                         (2) inserting after subsection (a) the following:
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                                                                                                                                    4
                                                                           1              ‘‘(b) Subsection (a) shall apply to a common carrier
                                                                           2 by railroad subject to the jurisdiction of the Surface
                                                                           3 Transportation Board under subtitle IV of title 49, United
                                                                           4 States Code, without regard to whether such railroads
                                                                           5 have filed rates or whether a complaint challenging a rate
                                                                           6 has been filed.’’.
                                                                           7     SEC. 7. TERMINATION OF EXEMPTIONS IN TITLE 49.

                                                                           8              (a) IN GENERAL.—Section 10706 of title 49, United
                                                                           9 States Code, is amended—
                                                                         10                         (1) in subsection (a)—
                                                                         11                                  (A) in paragraph (2)(A), by striking ‘‘, and
                                                                         12                         the Sherman Act (15 U.S.C. 1 et seq.),’’ and all
                                                                         13                         that follows through ‘‘or carrying out the agree-
                                                                         14                         ment’’ in the third sentence;
                                                                         15                                  (B) in paragraph (4)—
                                                                         16                                         (i) by striking the second sentence;
                                                                         17                                  and
                                                                         18                                         (ii) by striking ‘‘However, the’’ in the
                                                                         19                                  third sentence and inserting ‘‘The’’; and
                                                                         20                                  (C) in paragraph (5)(A), by striking ‘‘, and
                                                                         21                         the antitrust laws set forth in paragraph (2) of
                                                                         22                         this subsection do not apply to parties and
                                                                         23                         other persons with respect to making or car-
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                                                                         24                         rying out the agreement’’; and




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                                                                                                                                    5
                                                                           1                        (2) by striking subsection (e) and inserting the
                                                                           2              following:
                                                                           3              ‘‘(e) APPLICATION OF ANTITRUST LAWS.—
                                                                           4                        ‘‘(1) IN GENERAL.—Nothing in this section ex-
                                                                           5              empts a proposed agreement described in subsection
                                                                           6              (a) from the application of the Sherman Act (15
                                                                           7              U.S.C. 1 et seq.), the Clayton Act (15 U.S.C. 12, 14
                                                                           8              et seq.), the Federal Trade Commission Act (15
                                                                           9              U.S.C. 41 et seq.), section 73 or 74 of the Wilson
                                                                         10               Tariff Act (15 U.S.C. 8 and 9), or the Act of June
                                                                         11               19, 1936 (15 U.S.C. 13, 13a, 13b, 21a).
                                                                         12                         ‘‘(2) ANTITRUST ANALYSIS TO CONSIDER IM-
                                                                         13               PACT.—In              reviewing any such proposed agreement
                                                                         14               for the purpose of any provision of law described in
                                                                         15               paragraph (1), the Board shall take into account,
                                                                         16               among any other considerations, the impact of the
                                                                         17               proposed agreement on shippers, on consumers, and
                                                                         18               on affected communities.’’.
                                                                         19               (b) COMBINATIONS.—Section 11321 of title 49,
                                                                         20 United States Code, is amended—
                                                                         21                         (1) in subsection (a)—
                                                                         22                                  (A) by striking ‘‘The authority’’ in the
                                                                         23                         first sentence and inserting ‘‘Except as pro-
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                                                                         24                         vided in sections 4 (15 U.S.C. 15), 4C (15
                                                                         25                         U.S.C. 15c), section 15 (15 U.S.C. 25), and


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                                                                                                                                    6
                                                                           1                        section 16 (15 U.S.C. 26) of the Clayton Act
                                                                           2                        (15 U.S.C. 21(a)), the authority’’; and
                                                                           3                                 (B) by striking ‘‘is exempt from the anti-
                                                                           4                        trust laws and from all other law,’’ in the third
                                                                           5                        sentence and inserting ‘‘is exempt from all
                                                                           6                        other law (except the antitrust laws referred to
                                                                           7                        in subsection (c)),’’; and
                                                                           8                        (2) by adding at the end the following:
                                                                           9              ‘‘(c) APPLICATION OF ANTITRUST LAWS.—
                                                                         10                         ‘‘(1) IN GENERAL.—Nothing in this section ex-
                                                                         11               empts a transaction described in subsection (a) from
                                                                         12               the application of the Sherman Act (15 U.S.C. 1 et
                                                                         13               seq.), the Clayton Act (15 U.S.C. 12, 14 et seq.),
                                                                         14               the Federal Trade Commission Act (15 U.S.C. 41 et
                                                                         15               seq.), section 73 or 74 of the Wilson Tariff Act (15
                                                                         16               U.S.C. 8–9), or the Act of June 19, 1936 (15
                                                                         17               U.S.C. 13, 13a, 13b, 21a). The preceding sentence
                                                                         18               shall not apply to any transaction relating to the
                                                                         19               pooling of railroad cars approved by the Surface
                                                                         20               Transportation Board or its predecessor agency pur-
                                                                         21               suant to section 11322 of title 49, United States
                                                                         22               Code.
                                                                         23                         ‘‘(2) ANTITRUST ANALYSIS TO CONSIDER IM-
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                                                                         24               PACT.—In              reviewing any such transaction for the
                                                                         25               purpose of any provision of law described in para-


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                                                                                                                                    7
                                                                           1              graph (1), the Board shall take into account, among
                                                                           2              any other considerations, the impact of the trans-
                                                                           3              action on shippers and on affected communities.’’.
                                                                           4              (c) CONFORMING AMENDMENTS.—
                                                                           5                        (1) The heading for section 10706 of title 49,
                                                                           6              United States Code, is amended to read as follows:
                                                                           7              ‘‘Rate agreements’’.
                                                                           8                        (2) The item relating to such section in the
                                                                           9              chapter analysis at the beginning of chapter 107 of
                                                                         10               such title is amended to read as follows:
                                                                                 ‘‘10706. Rate agreements.’’.

                                                                         11      SEC. 8. EFFECTIVE DATE.

                                                                         12               (a) IN GENERAL.—Subject to the provisions of sub-
                                                                         13 section (b), this Act shall take effect on the date of enact-
                                                                         14 ment of this Act.
                                                                         15               (b) CONDITIONS.—
                                                                         16                         (1) PREVIOUS CONDUCT.—A civil action under
                                                                         17               section 4, 15, or 16 of the Clayton Act (15 U.S.C.
                                                                         18               15, 25, 26) or complaint under section 5 of the Fed-
                                                                         19               eral Trade Commission Act (15 U.S.C. 45) may not
                                                                         20               be filed with respect to any conduct or activity that
                                                                         21               occurred prior to the date of enactment of this Act
                                                                         22               that was previously exempted from the antitrust
                                                                         23               laws as defined in section 1 of the Clayton Act (15
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                                                                         24               U.S.C. 12) by orders of the Interstate Commerce


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                                                                                                                                    8
                                                                           1              Commission or the Surface Transportation Board
                                                                           2              issued pursuant to law.
                                                                           3                        (2) GRACE PERIOD.—A civil action or complaint
                                                                           4              described in paragraph (1) may not be filed earlier
                                                                           5              than 180 days after the date of enactment of this
                                                                           6              Act with respect to any previously exempted conduct
                                                                           7              or activity or previously exempted agreement that is
                                                                           8              continued subsequent to the date of enactment of
                                                                           9              this Act.
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